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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                        :
ELLEN BARTELS AND FREDERICK L.                          :
BARTELS, JR., Individually and as                       :
Administrators of the Estate of Abrielle Kira           : C.A. NO.:
Bartels, Deceased,                                      : 1:16-cv-02145-CCC
                                       Plaintiffs,      :
                        vs.                             : (CONNER, C.J.)
                                                        :
THE MILTON HERSHEY SCHOOL,                              :
                                                        :
and                                                     :
                                                        :
THE HERSHEY TRUST COMPANY, AS                           :
TRUSTEE OF THE MILTON HERSHEY                           :
SCHOOL TRUST,                                           :
                         Defendants.                    :
                                                        :

                                       ORDER

       Now, this ____ day of ___________________, 2017, upon consideration of

the Joint Motion to extend the deadlines set forth in the Court’s October 11, 2017,

Case Management Order (Dkt. 94), jointly filed by Plaintiffs Julie Ellen Wartluft

f/n/a Julie Ellen Bartels, and Frederick L. Bartels, Jr., Individually and as

Administrators of the Estate of Abrielle Kira Bartels, Deceased (together,

“Plaintiffs”), and Defendants The Milton Hershey School, and The Hershey Trust

Company, as Trustee for the Milton Hershey School Trust (collectively,

“Defendants”), it is hereby ORDERED that the Joint Motion is GRANTED as

follows:
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      1.       The Court’s October 11, 2017, Case Management Order (Dkt. 94), is

vacated; and

      2.       The Court shall issue a new Case Management Order extending the

fact discovery deadline to March 1, 2018, and all other pretrial and trial deadlines

are accordingly extended.




                                              _____________________________
                                              Christopher C. Conner, Chief Judge
                                              United States District Court
                                              Middle District of Pennsylvania




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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                        :
ELLEN BARTELS AND FREDERICK L.                          :
BARTELS, JR., Individually and as                       :
Administrators of the Estate of Abrielle Kira           : C.A. NO.:
Bartels, Deceased,                                      : 1:16-cv-02145-CCC
                                       Plaintiffs,      :
                        vs.                             : (CONNER, C.J.)
                                                        :
THE MILTON HERSHEY SCHOOL,                              :
                                                        :
and                                                     :
                                                        :
THE HERSHEY TRUST COMPANY, AS                           :
TRUSTEE OF THE MILTON HERSHEY                           :
SCHOOL TRUST,                                           :
                         Defendants.                    :
                                                        :

                JOINT MOTION TO EXTEND THE COURT’S
                      CASE MANAGEMENT ORDER

       Defendants The Milton Hershey School, and The Hershey Trust Company,

as trustee of The Milton Hershey School Trust (collectively, “Defendants”), and

Plaintiffs Julie Ellen Wartluft f/n/a Julie Ellen Bartels, and Frederick L. Bartels, Jr.,

Individually and as Administrators of the Estate of Abrielle Kira Bartels, Deceased

(“AB”) (together, “Plaintiffs”), jointly move to extend the deadlines set forth in

this Court’s October 11, 2017, Case Management Order (Dkt. 94), pursuant to

Federal Rules of Civil Procedure 6(b) and 16(b)(4).
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I.    BACKGROUND

      Following the filing of the Complaint in this action, on or about September

27, 2016, this case was transferred from the United States District Court for the

Eastern District of Pennsylvania to this judicial district. (Dkts. 18-19.) On

October 28, 2016, Plaintiffs filed an Amended Complaint against Defendants

bringing claims based on: the Fair Housing Act, 42 U.S.C. § 3602, et seq. (“FHA”)

(Count I); negligence (Count III); wrongful death (Count V); survival act (Count

VI); negligent misrepresentation (Count VII); intentional misrepresentation (Count

VIII); intentional infliction of emotional distress (Count IX); negligent infliction of

emotional distress (Count X); civil conspiracy (Count XI); breach of fiduciary duty

(Count XII); and negligence per se (Count XIII).1 (Dkt. 29.) On November 14,

2016, Defendants moved to dismiss the Amended Complaint for failure to state a

claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure. (Dkts. 31-32.)

On August 10, 2017, the Court issued a Memorandum Opinion and Order granting

Defendants’ Motion. (Dkts. 62-63.) Plaintiffs’ remaining claims consist of: the

FHA; wrongful death; survival act; and negligence per se.

      The parties have diligently conducted written and oral discovery in this

action. Defendants have produced approximately 2,400 pages of documents, and


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     Counts II, and IV from the original Complaint were omitted from the
Amended Complaint. See (Dkt. 1.)

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Plaintiffs have likewise produced approximately 1,300 pages of materials.

Supplemental written discovery is ongoing.

       The parties have also conducted over twenty-five oral or videotaped

depositions. Plaintiffs and Defendants, in good faith, continue to schedule

additional depositions, including various third-party mental health providers.

Indeed, a third-party medical provider from the Pennsylvania Psychiatric Institute

(“PPI”) has agreed to appear for his subpoenaed deposition on January 10, 2018.

II.    ARGUMENT

       Pursuant to Rule 16(b)(4), a pretrial scheduling order “may be modified only

for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). Rule

16(b)’s “good cause” standard “focuses on the moving party’s burden to show due

diligence.” Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 84 (3d

Cir. 2010). Here, for the following reasons, the parties have demonstrated due

diligence, and the deadlines set forth in the Court’s Case Management Order (Dkt.

94), should be extended so that the discovery deadline is March 1, 2018.

       First, Plaintiffs filed a complex action advancing multiple theories of

liability based upon, inter alia, the FHA, and negligence based actions. According

to the Amended Complaint, Defendants discriminated against AB based upon a

purported mental health disability. In order to adequately investigate Plaintiffs’

claims and Defendants’ defenses, the parties intend to conduct additional

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depositions as outlined in their Joint Case Management Plan and Initial

Disclosures. (Dkt. 35.) The parties intend to depose additional third-parties, such

as medical and mental health professionals, records custodians, as well as other

third-party fact witnesses. The parties are amicably working to schedule these

important discovery depositions.

      Second, in light of the causes of action asserted by Plaintiffs and the

allegations of mental health disabilities, Plaintiffs and Defendants have

subpoenaed third-party medical providers who have provided medical and mental

health treatment to AB. Some of those providers, however, have failed to comply

with the subpoenas and have not produced documents.       Typically, third-party

medical providers refuse to comply with subpoenas for these types of records

without a Court order (based on the Health Insurance Portability and

Accountability Act of 1996, and similar state laws, like the Pennsylvania Mental

Health Procedures Act), and Defendants may need to request the Court’s

intervention to promptly secure these highly relevant documents. The parties are

actively meeting and conferring with third-party mental health providers in order to

obtain these highly relevant and discoverable medical materials. Furthermore, on

November 30, 2017, the Court entered an Order directing Philhaven, where AB

was treated by Philhaven clinicians, to comply with Defendants’ subpoena and




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produce, inter alia, AB’s medical records. (Dkt. 106.) Philhaven, however, has

failed to comply with the Court’s Order.

        Third, undersigned counsel are the same counsel in Dobson v. Milton

Hershey School, et al., 1:16-CV-1958-CCC (M.D. Pa.), which is also assigned to

this Court. The Dobson matter involves complex theories of liability and causes of

action. The parties are coordinating discovery in that complex litigation as well.

        Fourth, the parties are filing this Motion jointly, and the discovery deadline

has not expired. Thus, the parties respectfully request that all Case Management

Order deadlines be extended, thereby designating March 1, 2018, as the discovery

deadline.

III.    CONCLUSION

        For the foregoing reasons, and for good cause shown, the parties jointly

request that the Court enter an Order extending all case management deadlines as

outlined above.




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Respectfully submitted,

/s Gregory F. Cirillo             /s Jarad W. Handelman
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Counsel for Plaintiffs            Counsel for Defendants

Dated: December 18, 2017




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                   CERTIFICATION OF CONCURRENCE

      Pursuant to Local Civil Rule 7.1, as this Motion is filed jointly, all counsel

concur with the Motion.

Respectfully submitted,


/s Gregory F. Cirillo                   /s Jarad W. Handelman
Gregory F. Cirillo, Esquire             Jarad W. Handelman, Esquire
(PA 46878)                              (PA 82629)
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Dated: December 18, 2017
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                         CERTIFICATE OF SERVICE
      I, Kyle M. Elliott, Esquire, hereby certify that I caused the foregoing Joint

Motion to Extend the Court’s Case Management Order to be filed electronically

with the Court, where it is available for viewing and downloading from the Court’s

ECF system, and that such electronic filing automatically generates a Notice of

Electronic Filing constituting service of the filed document upon all counsel of

record, including:

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                              Counsel for Plaintiffs

                                              /s Kyle M. Elliott
                                              Kyle M. Elliott, Esquire
Dated: December 18, 2017
